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VAN−063 Order Dismissing Case − Rev. 03−11−2003

                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                                   Greenville Division

IN RE:
Gary Leon Johnson Sr.                                       CASE NO.: 14−00798−5−JNC
P.O. Box 30091
Greenville, NC 27833                                        DATE FILED: February 10, 2014

                                                            CHAPTER: 13

Sheron Vantassle Harris−Johnson
P.O. Box 30091
Greenville, NC 27833




                                                  ORDER OF DISMISSAL

The court finds that Gary Leon Johnson Sr. and Sheron Vantassle Harris−Johnson has/have failed to
comply with the provisions of the confirmed chapter 13 plan or to obtain confirmation of a plan. Cause
exists to dismiss this case as to this debtor(s). Should Gary Leon Johnson Sr. and Sheron Vantassle
Harris−Johnson file another petition within one year, the automatic stay may be limited to 30 days or may
not go into effect absent a motion and order imposing or extending the automatic stay. Now therefore,

IT IS ORDERED that this case is dismissed as to Gary Leon Johnson Sr. and Sheron Vantassle
Harris−Johnson and all funds held by the trustee shall be disbursed to the appropriate parties as required
by the Bankruptcy Code, Federal Rules of Bankruptcy Procedure and the local rules of this court.

DATED: October 7, 2016

                                                                Joseph N. Callaway
                                                                United States Bankruptcy Judge
